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United States Courts”
Southern District of Texas

IN THE UNITED STATES DISTRICT COURT FILED
FOR THE SOUTHERN DISTRICT OF TEXAS jij 3 0 2025
HOUSTON DIVISION

Nathan Ochsner, Clerk of Court.
STEPHEN GBEJULE ODAIBO
Plaintiff,
VS. CIVIL ACTION No.: 4:25-cv-02743

NOVARTIS
PHARMACEUTICALS
CORPORATION

Defendant.

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JURY TRIAL DEMANDED

PLAINTIFF’S FIRST AMENDED COMPLAINT'

TO THE HONORABLE JUDGE OF SAID COURT:
Plaintiff Stephen Gbejule Odaibo (“Dr. Odaibo” or “Plaintiff’) is the owner of the copyright
for the “Macular Degeneration: Causes, Symptoms, and Treatments” video lecture (U.S.
Copyright Registration #: PA0002534033), and brings this complaint of copyright infringement
against Defendant, Novartis Pharmaceuticals Corporation (“Novartis” or “Defendant”), as
follows:
PARTIES

1. Dr. Odaibo is a Texas resident residing in the Southern District of Texas; and with a
retina practice in the Southern District of Texas, and in Houston in particular.

2. Novartis Pharmaceuticals Corporation is a business headquartered in East Hanover,
New Jersey. At all times material to this action, Novartis has continuously had offices,
sales personnel, and staff in Texas for its substantial business operations in Texas and
the Southern District of Texas, including but not limited to places such as MD Anderson

Cancer Center, Texas Medical Center, and throughout the State of Texas.

' Pursuant to Fed. R. Civ. P. Rule 15(a)(1).

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JURISDICTION AND VENUE

. This court is vested with subject matter personal jurisdiction pursuant to the Copyright

Act, 17 U.S.C. § 101 et seg., and 28 U.S.C. §§ 1331 and 1338(a).
Novartis is subject to this Court’s specific personal jurisdiction under due process.
Novartis has substantial business operations and contacts in Texas and in the Southern
District of Texas which arise from, or are directly related to Plaintoff's cause of action for
copyright infringement.
Venue is proper in this District Court under 28 U.S.C. § 1391(b) and 1400 in that the
Defendant conducts business in the State of Texas and within this District.

FACTUAL ALLEGATIONS
Plaintiff, Dr. Odaibo is a retina physician who authored a video lecture titled “Macular
Degeneration: Causes, Symptoms, and Treatments.” Plaintiff is the copyright owner of
“Macular Degeneration: Causes, Symptoms, and Treatments,” and has complied with
the statutory registration and deposit requirements of the Federal Copyright Act of 1976.
Defendant, Novartis is a Delaware C Corporation headquartered in East Hanover, NJ.
Notably, Defendant Novartis is the dominant majority of a global pharmaceutical giant
(Novartis Group, Headquartered in Basel, Switzerland) with a market capitalization of
$234 Billion (NYSE: NVS; June 11th, 2025) and $50 Billion of annual revenue (Novartis
Q4 2024 Earnings Report). An estimated 80% (or $40 Billion) of that annual revenue is
generated directly by the Defendant Novartis. Furthermore, the largest piece (i.e. 40% or
$20 Billion) of Novartis Group’s annual revenue is generated from its business
operations in the United States; and a large fraction of that is generated within the State
of Texas.
Defendant Novartis' main sources of revenue are from oncology (30%), immunology

(20%), cardiovascular/renal/metabolic (20%), and neurology (10%). In particular, prior to
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October 2019, Defendant had no approved drugs for treating retinal conditions such as
macular degeneration and diabetic retinopathy.

Defendant’s competitors Roche and Regeneron, have each had drugs for treating retinal
conditions such as macular degeneration and diabetic retinopathy since 2006 and 2011
respectively. These drugs are injected into the eye and belong to a class called
“anti-VEGF” drugs. The anti-VEGF retinal drug market is very large and growing, and is
projected to reach $21.4 Billion annual revenue by 2033 (per DataHorizzon Research).
As such, Defendant Novartis made — and continues to make — targeted efforts to
develop an anti-VEGF drug to enable them to compete in the retina market in the United
States and elsewhere.

In October 2019, Defendant's efforts finally resulted in a United States Food and Drug
Administration (FDA) approved retinal drug, Beovu (aka RTH258 aka Brolucizumab).
However, several months prior to that approval, Defendant Novartis, recognized that it
had one very big problem. Novartis as a company and Novartis’ Sales/Marketing field
personnel in particular, had no prior experience with the anti-VEGF retinal drugs. None.
Despite the fact that at the time (Q1-Q3 2019) Defendant Novartis was the 2nd largest
pharmaceutical company in the world by market capitalization, its existing drug portfolio
and consequently, its sales and marketing knowledge, experience, and skills were not in
anti-VEGF retinal drug segment. Novartis needed help and needed it urgently.

To succeed in the market with its anticipated new product launch, Defendant Novartis
recognized the critical need to fill in the gaps in its sales forces’ knowledge and
experience ahead of the launch. In particular, it needed to conduct sales and marketing
training not only for a new drug, but for a category of drugs that was entirely new to the
Defendant as a company; and was entirely new to its sales personnel. Furthermore, the
method of administration of the drug (injection of a drug into the vitreous cavity of the

eye) was entirely new to the Defendant Novartis and its sales force. The knowledge,
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experience, and skills gaps the Defendant urgently needed to fill included: the anti-VEGF
retinal drug indications (i.e. the diseases the drugs are used to treat, e.g. macular
degeneration, diabetic macula edema), the symptoms of those diseases, the physiology
of those diseases, the available treatment options, the manner of administration of the
drugs (injecting into the eye), the details of the injection procedure, the experience and
perspective of the physician, and the patient’s experience during and after the injection
of the drug into the eye.

13. In 2018, the year preceding Defendant's entry into the retinal eye injection market, its
two competitors Regeneron and Roche generated global revenue of $6.4 Billion and
$3.7 Billion respectively from their respective retinal eye injection drugs, Eylea
(Regeneron) and Lucentis (Roche). Based on those revenues, at time of launch in 2019,
financial analysts projected peak sales of $2.5 Billion annually for Defendant from Beovu
(See: “Novartis gains FDA approval of Beovu for treatment of wet age-related macular
degeneration” Matthew Dennis; FirstWordPharma, October 8th, 2019). Defendant was
therefore highly focused on this launch of Beovu as a big commercial opportunity, and
one for which the training and upskilling of their sales staff was especially crucial to
Defendant's financial success with this venture which was entirely new to Defendant.

14. During the training of its sales staff for the explicit purpose of launching Beovu,
Defendant Novartis proceeded without authorization to obtain, copy, and distribute
Plaintiff Dr. Odaibo’s copyrighted video lecture “Macular Degeneration: Causes,
Symptoms, and Treatments” from YouTube; and Defendant proceeded to use the video
for the purpose of training and equipping its entire United States national sales force for
the express purpose of the Beovu launch and continued marketing. The infringement
was done explicitly for financial gain.

15. Defendant’s United States’ sales force dedicated to the Beovu launch and continued

marketing consisted of approximately 60 persons initially.

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16. Defendant, Novartis, assessed that Plaintiff, Dr. Odaibo’s copyrighted work is of great
value for the training and equipping of its entire sales and marketing personnel for the
purpose of launching and continuing marketing of Beovu. As such, Defendant Novartis
proceeded, but without authorization, to obtain, copy, and distribute Plaintiff Dr. Odaibo’s
copyrighted work and use it for the purpose of training and equipping its entire United
States sales and marketing team specially dedicated to launching and continuous
marketing of Beovu. The infringement of Plaintiff Dr. Odaibo’s copyrighted work was
itemwillful and was done explicitly for financial gain.

17. Per Novartis’ financial results, Beovu generated a revenue of $35 Million for Defendant
Novartis in its opening quarter (Q4 of 2019): it generated $190 Million in 2020; $186
Million in 2021; $203 Million in 2022; and approximately $200 Million in 2023 ($51 million
in Q1, $53 million in Q2, $47 million in Q3, and Q4 unreported). Defendant's Beovu
revenue for Year 2024 and Q1 2025 are not itemized separately.

18. Per Defendant's financial reports as outlined in the aforementioned, Defendant has
made over $1 Billion in revenue from Beovu to date. Specifically, Defendant's revenue
from Beovu is estimated to be approximately $1.1 Billion.

19. Plaintiff Dr. Odaibo’s copyrighted work contributed very directly to the profits Defendant
Novartis generated from sales of Beovu.

20. During a training and equipping session that was being conducted by Defendant
Novartis for its Beovu sales and marketing team, one of the sales representatives sent
the following written message to Plaintiff Dr. Odaibo:

Hope you remember me. ...
Wanted to share a couple of things with you!
First, | made the cut to be in our newly formed retina team that will hopefully be

launching RTH258 [Beovu]

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The team is all being trained right now. Very comprehensive and thorough. Well along
with the Novartis training people are sending around great you tube videos to aid in
our learning

Well right now | am listening to a 48 minute you tube video where you are presenting
and explaining nAMD to a room of patients and caregivers

Just thought you would get a kick out of the fact the entire nation (60 reps) are

listening to you teach!

Defendant Novartis willfully attempted to conceal its unauthorized use of Plaintiff's
copyrighted work which it used for training and equipping of its entire dedicated sales
force for the express purpose of launching and continuous marketing of Beovu.
Defendant Novartis continued to sell and market Beovu, listing it as a separate line item
on its quarterly financial report as recently as Q3 2023 (published October 23rd, 2023).
Plaintiff Dr. Odaibo made multiple unsuccessful attempts to engage with Defendant
Novartis. For over one year, several emails were exchanged between Plaintiff and
Defendant, during which Defendant did not respond to Plaintiff's request for discussion
of the copyright infringement allegation. Instead, Defendant simply repeatedly informed
Plaintiff that Defendant will get back to Plaintiff. This went on for more than one year.
Finally, and only recently, Defendant only began to respond after Plaintiff informed
Defendant that litigation would become necessary if no response was received.

This extended delay indicates willfulness and bad faith on Defendant's part.

Amongst Defendant Novartis’ multipronged (but internally inconsistent) attempt to
prevent Dr. Odaibo from exercising his copyrights, during the course of an email
exchange Defendant altered the above quoted text from its then employee. Furthermore,
Defendant perpetrated the said text alteration in a manner to willfully change its meaning

so as to conceal the copyright infringement. Furthermore, Defendant surreptitiously

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perpetrated the alteration without any annotation to inform Plaintiff of the alteration. This
provides further evidence that the copyright infringement was done willfully and in bad
faith.

26. Defendant is a global pharmaceutical giant with a large, sophisticated, well-resourced,
and experienced legal team specializing in intellectual property law. Defendant's delay in
engaging with Plaintiff, Defendant’s obstruction of discovery of infringement, and
Defendant’s multipronged (but internally inconsistent) effort to prevent Dr. Odaibo from
exercising his copyrights are not accidental, but instead are strategic and tactical. This

demonstrates willfulness and bad faith on Defendant's part.

FIRST CLAIM FOR RELIEF
(FOR COPYRIGHT INFRINGEMENT)

27. Plaintiff Dr. Odaibo incorporates and realleges herein by reference paragraphs 1 through
26, inclusive, as though fully set forth herein.

28. Dr. Odaibo is the sole and exclusive owner of the copyrights in the video.

29. Dr. Odaibo is the sole and exclusive owner of the Copyright Registration Certificate.

30. Without authorization, Defendant Novartis obtained, viewed, copied, and distributed the
video, using it to train and equip its entire United States sales force for the express
purpose of launching and continuously marketing retinal drug Beovu. This happened on
multiple occasions until at least Q3 of 2023, thereby constituting a continuous pattern of
multiple acts of unlawful infringement by Defendant Novartis. In particular, the last known
infringing act committed by Defendant Novartis on Dr. Odaibo’s copyright in the video
occurred less than three years prior to the date of the filing of this complaint.

31. Without authorization, Defendant Novartis obtained, viewed, copied, and distributed the
video, and therefore infringed Dr. Odaibo’s copyright in the video. This happened on

multiple occasions until at least Q3 of 2023, thereby constituting a continuous pattern of
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multiple acts of unlawful infringement by Defendant. In particular, the last known
infringing act committed by Defendant Novartis on Dr. Odaibo’s copyright in the video
occurred less than three years prior to the date of the filing of this complaint.

32. Defendant Novartis performed copyright infringement of Dr. Odaibo’s video, and did so
expressly for commercial gain.

33. Defendant Novartis’ infringement of Dr. Odaibo’s copyright in the video contributed
directly and significantly to the revenue generated by Novartis from Beovu sales ($1.1
Billion) to date.

34. Defendant Novartis’ infringement was willful and in bad faith.

35. Defendant Novartis’ was fully aware that its actions were wrong and unauthorized as
evidenced by Defendant’s attempts to conceal its actions, obstruct and delay discovery
of infringement, and frustrate Plaintiff's persistent attempts at discussion.

36. Defendant’s deliberate disregard of Dr. Odaibo’s rights is part of a historical pattern of
conduct perpetrated by the defendant.

37. Defendant’s knowing and willful copyright infringement as alleged herein has caused and
continues to cause harm to Plaintiff; and has caused and continues to cause harmful
loss of economic opportunity to Plaintiff.

38. Defendant's act of willful copyright infringement against Plaintiff is a wanton, reckless,
and truly unnecessary attempt by a global pharmaceutical giant to maliciously exploit
Plaintiff's labor, and to do so expressly for commercial gain; thereby causing Plaintiff
immense and harmful loss of economic opportunity. Plaintiff is therefore entitled to
injunctive relief, actual damages, and Defendant's profits.

PRAYER FOR RELIEF
Plaintiff prays for the following relief:
1. Defendant be ordered to pay to Plaintiff actual damages, plus the amount of Defendant's

profits attributable to the infringement, 17 U.S.C. § 504(b);

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a. Defendant be ordered to pay Plaintiff an amount no less than 1% of Defendant's
gross revenue from Beovu sales;

b. In particular, per Defendant's estimated gross revenue of $1.1 Billion from Beovu
sales, Defendant be ordered to pay Plaintiff an amount no less than $11 Million;

2. Defendant deliver to be impounded during this suit all copies of the video in its
possession or control pursuant to 17 U.S.C. § 504(c);

3. Pre-judgement interest at the legally allowable rate on all amounts owed;

4. For preliminary and permanent injunctions by this Court prohibiting Defendant from
engaging or continuing to engage in unlawful conduct that infringes Plaintiff's copyright in
the video;

5. For preliminary and permanent injunctive relief against Defendant, including its officers,
agents, servants, employees, attorneys, and representatives from reproducing, making
derivative works of, distributing, or displaying the video;

6. Such other and further relief as this Court deems just and proper.

JURY DEMAND
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a trial by

jury in this action on all issues triable by jury.

Respectfully submitted,

By:_/s/ Stephen G. Odaibo
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Sugar Land, Texas 77479
Email: stephen.odaibo@gmail.com

Phone: On

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